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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 22-CR-20104-JEM

  UNITED STATES OF AMERICA,
  v.

  JOSEPH JOEL JOHN,

        Defendants.
  _______________________________/

        NOTICE OF INTENT TO WITHDRAW OBJECTIONS TO THE PRE-
                  SENTENCING INVESTIGATION REPORT

         COMES NOW the undersigned counsel for Defendant, Joseph Joel John, and files

  this notice informing the Court of his intention to withdraw his objections to the Pre-

  Sentencing Investigation Report [DE 501].

         I HEREBY CERTIFY that on or before December 14, 2023, I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

  document is being served this day via the transmission of the Notice of Electronic Filing generated

  by CM.ECF to: Andrea Goldbarg and Monica Castro, Assistant United States Attorneys, Federal

  Justice Building, 99 N.E. 4th Street, Miami, Florida 33132-2111



                                                       Respectfully submitted,
                                                       The Kirlew Law Firm, PLLC
                                                       2103 Coral Way
                                                       Suite 401
                                                       Miami, FL 33145
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                                             By:________________________
                                              Brian Kirlew, Esq
                                              FL Bar No.: 0067218




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